Case 8:16-cv-01351-JSM-AEP Document 21 Filed 04/03/17 Page 1 of 6 PagelD 67

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:16-cv-01351-JSM-AEP
KATHY SORIANO,
Plainuff,

vs.

C&N MANAGEMENT, INC., and
ACAPULCO MEXICAN GROCERY, INC,

Defendants.

/

FINAL DEFAULT JUDGMENT AGAINST DEFENDANTS

   

THIS CAUSE came before the Court on the Plaintiffs Motion for Entry of Judgment After
Default (Doc. No. 19), and the Court having considered the motion, having reviewed the pleadings,
papers and supporting declaration filed herein, being otherwise duly advised in the premises, it is
hereby

FOUND, ORDERED AND ADJUDGED as follows:

1. This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331
and 1343, for Plainuffs claims arising under 28 U.S.C. §12181, ¢/ seq., based upon Defendants’
violation of Title III of 42 U.S.C. §§ 12182, ef seq.

2. Defendants are the owners, operators, lessors and/or lessees of the real property and
improvements which are the subject of this action (hereinafter, the “Facility”).

3. Defendants have discriminated against the Plaintiff who is an individual with a
disability, by denying full and equal enjoyment of the goods, services, facilities, privileges, advantages
and accommodations of the subject Facility as provided by 42 U.S.C. §§12182, ef seg., and by failing

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Case 8:16-cv-01351-JSM-AEP Document 21 Filed 04/03/17 Page 2 of 6 PagelD 68

to remove architectural barriers and thereby providing Plaintiff appropriate access to the subject

Facility, as required by 42 U.S.C. §12182(b)(2)(A)(iv). Specifically, the Court finds that all of the

alleged barriers to access identified in the Complaint shall be removed and remediated, in

accordance with the ADA 2010 Standards. The alleged barriers are as follows:

a.

There are an insufficient amount of accessible parking spaces. 2010 Standards
sections 208.2 and 502 and Table 208.2.

Parking spaces designated as accessible are not, in fact, accessible. 2010 Standards
sections 208 and 502.

There is not an accessible route throughout the site and facility. 2010 Standards
sections 206 and 402.

There is not a properly designed and sloped ramp from the parking area to the
Facility. 2010 Standards sections 208, 405 and 406.

There are doors that are inaccessible. 2010 Standards sections 206.5 and 404.

Self-service shelves and dispensers are inaccessible. 2010 Standards sections 904.5.1
and 308.

At least 5% of the tables and counters are not compliant. 2010 Standards sections
226 and 902.

There are restrooms that are inaccessible. 2010 Standards sections 213 and 603.

The restrooms lack sufficient clear floor space, maneuvering clearance and turning
space. 2010 Standards sections 213 and 603.

The water closets are inaccessible. 2010 Standards sections 213, 603 and 604.
There are no accessible grab bars.

The toilet paper dispensers are inaccessible.

The lavatories are inaccessible. 2010 Standards sections 213, 603 and 606.
The water lines and drain pipes are not insulated.

The paper towel dispensers are not accessible.
Case 8:16-cv-01351-JSM-AEP Document 21 Filed 04/03/17 Page 3 of 6 PagelD 69

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There are designated accessible parking spaces with access aisles that do not lead to
an accessible route due to a vertical change in level, in violation of Section 502.3 and
403.4 of the 2010 Standards, which remedy is readily achievable

There is not at least one accessible route from the designated accessible parking to
the facility entrance they serve, violating Section 206.2.1 of the 2010 Standards,
which remedy is readily achievable.

There is not continuous path of travel connecting all essenual elements of the
facility, violating Section 206.2.2 of the 2010 Standards, which remedy is readily
achievable,

The entrance to the facility does not provide compliant directional and informational
signage, nor does it have the International Symbol of Accessibility, pursuant to
Sections 216.6 and 703.7.2.1 of the 2010 Standards, which remedy is readily
achievable.

There are built up curb ramps at this facility that have running slopes exceeding the
maximum allowance of 1:12, violating Section 405.2 of the 2010 Standards, which
remedy is readily achievable.

There are built up curb ramps at this facility that have side flare slopes exceeding the
maximum allowance of 1:10, violating Section 406.3 of the 2010 Standards, which
remedy is readily achievable.

The benches located on the walkway reduces the clear width of the accessible route
to be less than the prescribed minimum of 36” pursuant to Section 403.5.1 of the
2010 ADA Standards, whose remedy ts readily achievable.

There are self-service shelves and dispensers located above the maximum reach
range allowance, in violation of Sections 904.5.1 and 308 of the 2010 Standards,
which remedy is readily achievable.

The height of the deli service counter exceeds the maximum height allowance of 36”
above the finished floor, violating Sections 904.4.1 of the 2010 Standards, which
remedy is readily achievable.

The restaurant located within the grocery store has dining tables that do not provide
the required toe and knee clearance, violating Section 902.2 of the 2010 Standards,
which remedy is readily achievable.

The height of the bar counter located in the restaurant section of the grocery store
exceeds the maximum height allowance of 34” above the finished floor, without an
alternate lower counter space or tables for a wheelchair user; in violation of Section
902.2 of the 2010 Standards, which remedy is readily achievable.
Case 8:16-cv-01351-JSM-AEP Document 21 Filed 04/03/17 Page 4 of 6 PagelD 70

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There is less than the prescribed minimum 36” of clear width between the
merchandise aisles throughout the store, as well as, between the dining tables in the
restaurant section of the facility, violating Section 403.5.1 of the 2010 Standards,
which remedy is readily achievable.

The Women’s restroom door does not provide the required 18” of latch side
maneuvering clearance to exit the room due to the trash receptacle, violating Section
404.2.4 of the 2010 Standards, which remedy is readily achievable.

The restroom entrance door has door hardware that requires tight grasping, pinching
and twisting of the wrist to operate, violating Section 404.2.7 of the 2010 Standards,
which remedy is readily achievable.

The lavatory faucet controls require tight grasping, pinching and twisting of the wrist
to operate, in violation of Sections 606.4 and 309.4 of the 2010 Standards, which
remedy is readily achievable.

The lavatory in the Men’s restroom does not provide compliant toe and knee
clearance due to the support leg, violating Sections 606.2 and 306 of the 2010
Standards, which remedy is readily achievable.

The waterlines and drain pipes under the lavatories are not insulated or otherwise
configured to protect against contact, in violation of Section 606.5 of the 2010
Standards, which remedy is readily achievable.

. The paper towel dispensers in the restrooms are mounted above the maximum reach

range allowance, violating Sections 308 and 606.1 of the 2010 Standards, which
remedy is readily achievable.

The paper towel dispensers require tight grasping and pinching to operate, violating
Section 309.4 of the 2010 Standards, which remedy is readily achievable.

The trash receptacle and shelving unit obstructs the minimum clearance around the
water closets, in violation of Section 604.3.1 of the 2010 Standards, which remedy is
readily achievable.

There are no grab bars provided on the side-wall or back wall of the water closet in
the Women’s restroom, violating Section 604.5.1 and 604.5.2 of the 2010 Standards,
which remedy is readily achievable.

_ The Men’s restroom water closet flush control is not mounted on the open side of

water closet area as required, violating Sections 806.2.4 and 604.6 of the 2010
Standards, which remedy is readily achievable.
Case 8:16-cv-01351-JSM-AEP Document 21 Filed 04/03/17 Page 5 of 6 PagelD 71

ll. The toilet paper dispensers are not mounted 7” minimum to 9” maximum in front of
the toilet to the centerline of the dispenser as required in Section 604.7 of the 2010
Standards, which remedy is readily achievable.

4. Defendants shall have six (6) months from the date that this Final Default Judgment
is served on Defendants to complete the remediation to the Facility required hereby. Upon
completion, Defendants shall file a verified certificate of completion with the Court acknowledging
that all work has been completed. The time period for completion by Defendants shall be subject to
acts of God, force majeure, or events beyond the control of Defendants such as inability to obtain
building or zoning permits, failure of the city/ county inspectors to make inspections, contractor
defaults or work stoppages. In the event of such unforeseen circumstances, the time period for
completion of the barrier removal, alterations and modifications provided in Paragraph 1 will be
extended by the number of days reasonably attributable to such delay-causing event as long as
Defendants immediately file a motion with the Court for an extension of time, before the expiration
of the deadline to comply, and provides written notice to Plaintiff, which includes the specific
reasons for the delay, the estimated time for completion and Defendants make a good faith effort to
effect implementation as soon as reasonably possible thereafter.

5. The Court finds that Plaintiff is the prevailing party, and that Plainuff is therefore
entitled to recover Plaintiffs reasonable attorneys’ fees, litigation expenses and costs from
Defendants, and this Court retains jurisdiction for the determination and award thereof.

6. Plaintiff shall serve Defendants with this Final Default Judgment within thirty (30)
days of the entry of this Final Default Judgment, and shall promptly file proof of service with the
Court.

7. The Clerk of Court is directed to close this case and terminate any pending motions

as moot.
Case 8:16-cv-01351-JSM-AEP Document 21 Filed 04/03/17 Page 6 of 6 PagelD 72

ORDERED this —_ day of Mos , 2017.
ped. (Veh

ates S. MOODY, /
ITED STATES ee JUDGE

cc: Counsel of Record
Defendants

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